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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                               October 29, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 29[th] day of October, 2015.

10-15-00353-CR	DESHAUN RASHAD WRIGHT v. THE STATE OF TEXAS - ON APPEAL FROM THE 19[TH] DISTRICT COURT OF MCLENNAN COUNTY - TRIAL COURT NO. 2014-2030-C1 - DISMISSED - Memorandum Opinion by Justice Davis:

"This cause came on to be heard on the transcript of the record of the court below, and the same being considered, because it is the opinion of this Court that the appeal should be dismissed, it is ordered, adjudged and decreed by the Court that the appeal be dismissed, and that the appellant pay all costs in this behalf expended and that this decision be certified below for observance."
